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(List the names of all the plaintiffs
Prison ld. No. QQ_@(QB_T filing this lawsuit Do not use “et
f _ al.” Attach additional sheets if
C{/ //// am £-\/-// r /(/»;,, Name neeessary.
Civil Action No.

Prison ld. No. OC'> Q)_S£ l/@ z

P1amrif€(5)

(To be assigned by the Clerk’s
office Do not Write in this space.)

Jury Trial Yes l:l N 0

V.

141/reef ga j[¢/; f &?M{Na_me
ZMU/'£/ M5 /’/\'///,c /// Name
Defendaut(s)

(List the names of all defendants
against Whom you are filing this
lawsuit Do not use “et al.” Atta ‘..`1

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) additional sheets if necessary. '
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COMPLAINT FOR V.[OLATION OF CIVIL RIGHTS
FTT,FT) PURSUANT TO 42 U.S.C. 5 1983

l. PREVIGUS LAWSUITS (T he following information must be provided by each plaintiff )

A. Have you or any of the other plaintiffs m this lawsuit filed any other lawsuits m the
United States District Court for the Middle District of Tennessee, or in any other federal y '

£M? u7/N0 we

lf you checked the box marked “Yes” above, provide the following information:

l. Parties to the previous lawsuit
m A

 

Plaintiffs

 

 

Defendants '

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/M

(lf you filed the lawsuit in federal court, provide the name of` the District. If you
fled the lawsuit in state court, provide the name of the state and the county.

W/v'

What was the ludge’s name to Whom the case was assigned? /M

2. ln what court did you file the previous lawsuit?

3. What was the case number of the previous lawsuit?

 

 

 

4.

5. When did you file the previous lawsuit? /y(fi (Provide the`year, if
you do not know the exact date.)

6. What was the result of the previous lawsui ? For example, was the case dismissed,
appealed, or still pending? /// f

7. When was the previous lawsuit decided by the court? Lé 4 (Provide
the year, if you do not know the exact date.)

8. Did the circumstances of the prior lawsuit involve the same facts or circumstances

that you are alleging in this lawsuit
U Yes |:| No W 4

(If you have filed more than one prior lawsuit, list the additional lawsuit(s) on
a separate sheet of paper, and provide the same information for the additional

lawsuit(s).)
THE PLAH\ITIFF’S CU`RRENT PLACE OF CONFINEMENT (The following information
must be provided by each plaintiff.)

and address of the prison or jail in which you are currently

A. What is the narfry\
incarcerated? enf/eff /_’¢> fAer/»// U%ga//jm»‘/ %0 ZOX 730
jam if 7%14//| 7¢:9/¢*/1¢-8'¢¢~ 5 grré "

I[.

 

Are the facts of your lawsuit related to your present confinement?

 

B.
E/Y es m NO
C. lf you checked the box marked “No” in question ll.B above, provide the name and
address of the prison or j ail-to which the facts of this lawsuit pertain.
N i>»~
D. Do the facts of your lawsuit relate to your confnement in a Tennessee State knson?

U Yes ` ` |Y/NO 4
lf you checked the box marked “No,” proceed to question ll.l-l.

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E. lf you checked the box marked “Yes” in question ll.D above, have you presented these
facts to the prison authorities through the state grievance pro cedure?

 

 

 

 

l:| Yes |I| No \\) \(¥ 7
F. lf you checked the box marked “Yes” in question H.E above:
l. What steps did you take? l\) A 1
2. What was the response of prison authorities? i\) A
G. if you checked the box marked “No” in question ll.E above, explain why not. ii l A

 

l-l. Do the facts of your lawsuit pertain to your confinement in a detention facility operated
by city or county law enforcement agencies (for example, city or county j ail, workhouse,

etc.)?

[Zés m NO

lf you checked the box marked “Yes” in question I[.H above, have you presented these .

I.
facts to the authorities who operate the detention facility?
Yes l:| No
J. l_f you checked the box marked “Yes” in question ll.l above:

l. Whatstepsdidyoutake? ,§e/~»/ Q¢/'/’ /)/)€¢//’¢a/ /‘ca¢/:57/'
5</)~! Oc/v’ 61/.)¢1/0~¢/\¢/ nrw\s l

What was the response of the authorities who run the detention facility? Z/¢ ¢
c¢/¢.// na-f a /\§u/ef Ct/\,\]/ of v¢ em

L. lf you checked the box marked ‘No” in question ll.l above, explain why not.

 

2.

Attach copies of all grievance related materials including, at a minimum, a copy of the
grievance you fled o_n each issue raised in this complaint, the prison’s orjail’s response to that
grievance, and the result of any appeal you took from an initial denial of your grievancel

lI[. PARTIES TO Tl-I[S LAWSUIT','

A. Plaintiff`(s) bringing this lawsuit:
l. Name ofthe firstplaintiff: :B-OSL\) o~. L @<, Cc\fr¢> //
Pris@n 1a NO. eithearsi piamrife""e 00 ¢+3 o l0 <i "7

Case 2:11-cv-00019 Document 1 3Filed 02/03/11 Page 3 of 6 Page|D #: 3

Ad ess ofthe first plaintiff \)<>s L\ uq 136 6a r /‘0 (/
-O. zo`oé 736 :ane;_@,¢\ 77‘< 385'5'&_

- (Include_the name of the institution and mailing address,

If you change your address you must notify the Court im

including zip code.
mediately.)

Name of second the_plaintiff: w,’/// 'am ga ff¢r /</L»j

Prison Id. No. of the second plaintiff.' %O/) 095’5 Z/LQ

plaintiff: /€U ,Zo)( 730 JLM_LY¢~M 7‘)V1

Address of the second

3 8.<“;'&
(Include the name of the institution and mailing address, including zip code.

lf you change your address you must notify the Court immediately.)

I_f there are more than two plaintiffs, list their names, prison identification
numbers, and addresses _on a separate sheet ofpaper.

B. Defendant(s) against whom this lawsuit is being brought

Name of the Erst defendant L A///`£ / Wa § /! k D://A\
Place of employment of the first defendant ,En~f/`cs 5 /O SL@/'[ g ! dept

363 A'. 0 m //1/'r for
;P.<> 36 >< ’73©

The first defendants address: j, /4 M/’£ / Wc; 5 /rk
`\§;¢mo;?‘é)¢./n YI/ 3 Z_C"$“é

Named in oij§cial capacity? l;l//§"es E| N@
Ye

Named in individual capacity” s El NO

2 - Name of the second defendant y/;\;/C, fws/4 // :5:=.5 t |/UUWJQ

Place of employment of the second defendant ;;n 1/¢} § go ,)'Jer/[/ U¢/v"

l.

The second defendants address: 7/¢')/-/¢ 501 / // /,0@ 30 ;( 736

lE/Yes El No_

Named in official capacity?
5 No

Named in individual capacity” es

If there are more than two defendants against whom you are bringing this
lawsuit, you must list on a separate sheet of pap er the name of each additional
defendant their place of employment their address, and the capacity inwhich
you are suing them. lf you do not provide the names of such additional
defendants, they will not be included in your lawsuit lf you do not provide
their proper name, place of employment and address, the Clerk will be

unable to serve them should process issue.

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IV. STATEl\/IENT OF FACTS

State the relevant facts of your case as briefly as possible lnclude the dates when the incidents
or events occurred, where there they occurred, and how each defendant was involved. Be sure
to include the names of other persons involved and the dates and places of their involvement

lf you set forth more than one claim, number each claim separately and set forth each claim in
a separate paragraph Attach additional sheets, if necessary Use 8 l/2 in. x ll in. paper. Write
on one side only, and leave a l in. margin on all four 4 sides.

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V. RELIEF REQUESTED: Specify what relief you are requesting against each defendant
A. mg//;A / ///¢, /0»¢////¢/
B J/a /// fm //m»»} /)/X¢/
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/ / \]T

 

 

 

 

F. l request a-jury trial. Yes E] NO
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VI. CERTIFICATION q
l (we) certify under the penalty of p'e1jury that the foregoing complaint is true to the best of my (our)
information, knowledge and belief 4

S'ignature: Date: ' 3'

arson 1<1 NO. #0@ ?30 écf`Z

Address: ":§Q';A fig/el /€c? \Za%' 73d 5-¢/»16_<75.'¢)4 7'/1/

3 ;/x:r'[

(lnclude the city, state d zip code.) _ n _
Signature: M;¢¢»._>»é/& § Date: QM
Pris@nrd.No. 36 2 §§C/{?

Address: pagy%?$@ “>:;V"‘a>_//O`C‘/A MSJ%

 

 

(lnclude the city, state and zip code.)

ALL PLAINTIFFS l\/IUST SIGN AND DATE THE COl\/_[PLAll\IT, and provide the
'nformation listed above. If there are more than two plaintiffs, attach a separate sheet of

1
paper with their signatures, dates, prison identification numbers, and addresses.

ALL PLAI`NT]J?'FS MUST COl\/,[PLETE SIGN AN]) DATE SEPARATE APPLICATIONS
TO PROCEED lNFURMA PA UPERIS, if not paying the civil filing fee. 1
_X ,

SUBMIT THE COMPLAINT, THE REQUIRED FILING FEE, OR APPLICATION TO
PRO CEED I]VFOR/l./Lel PA UPERIS, TO GETHER. Complaints received without the required
filing fee or application to proceed in forma pauperis will be returned. Filing fees, or

applications to proceed in forma pauperis, received without a complaint will be returned.

 

 

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